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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  ALAN RACKEMANN,                                     )
                                                      )
                                Plaintiff,            )
                                                      )
                           v.                         )       No. 1:17-cv-00624-TWP-MJD
                                                      )
  LISNR, INC., et al.                                 )
                                                      )
                                Defendants.           )

                                   ORDER ON MOTION TO SEAL

         This matter is before the Court on Defendant LISNR, Inc.’s Motion to Maintain

  Document Under Seal. [Dkt. 219.] Defendant seeks to seal its Second Amended Answer and

  Counterclaims [Dkt. 218] because it contains information designated by Plaintiff as confidential

  under the parties’ Protective Order.

         On January 31, 2018, Plaintiff filed a Brief in Support of Defendant’s Motion. [Dkt. 241.]

  Plaintiff asserts the counterclaims quote from or reference materials that reveal Edelson PC’s

  proprietary business practices and communications between Edelson PC and non-party putative

  class action members. Plaintiff filed a public redacted version of the Second Amended Answer

  and Counterclaims [Dkt. 218] at Dkt. 241-1.

         Consequently, based upon the Court’s review of Plaintiff’s supporting brief and proposed

  redactions, the Court GRANTS Defendant’s Motion [Dkt. 219]. The Clerk is directed to

  permanently seal Dkt. 218.



         Dated: 6 FEB 2018
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